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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
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11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
14                                             LIMITED’S MOTION TO SHORTEN
           v.
                                               DEADLINES FOR MOTION FOR ENTRY
15   NSO GROUP TECHNOLOGIES LIMITED            OF PROTECTIVE ORDER
     and Q CYBER TECHNOLOGIES LIMITED,
16                                             [Filed Concurrently with Declaration of
                 Defendants.                   Joseph N. Akrotirianakis and [Proposed]
17                                             Order]
18                                             Ctrm: 3
                                               Judge: Hon. Phyllis J. Hamilton
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20                                             Action Filed: 10/29/2019
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      DEFENDANTS’ MOTION TO SHORTEN                                 Case No. 4:19-cv-07123-PJH
      TIME
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 1                                            NOTICE OF MOTION
 2           TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3           PLEASE TAKE NOTICE that Defendants NSO Group Technologies Limited (“NSO”)
 4 and Q Cyber Technologies Limited (“Q Cyber” and, collectively with NSO, “Defendants”) hereby

 5   move the Court for an order shortening the filing deadlines related to Defendants’ motion for entry
 6   of a protective order.
 7                                 STATEMENT OF RELIEF SOUGHT
 8           By this Motion, Defendants seek an order shortening the deadline related to their motion

 9   for entry of a protective order. As explained in that motion, Defendants have recently obtained

10   information that Defendants’ counsel believes is of great importance to the Court and Plaintiffs’

11   outside counsel in the orderly management of the case and the parties’ litigation of it. Defendants’

12   counsel believes that it is urgent for the Court and Plaintiffs’ outside counsel to receive this

13   information, however Defendants are unable to disclose this information without violating certain

14   legal obligations unless and until a protective order is in place. Plaintiffs’ counsel, however, have

15   refused to stipulate to the shortening of the deadlines related to Defendants’ motion for entry of a

16   protective order. Accordingly, Defendants ask the Court to shorten the deadlines related to that

17   motion under Local Rule 6-1(b). Specifically, Defendants ask the Court to order Plaintiffs to

18   respond to Defendants’ motion within four court days. In the interest of having the matter

19   determined quickly so that this important information can be conveyed to the Court, Plaintiffs

20   waive any right to file a reply brief.

21                                     POINTS AND AUTHORITIES

22           As explained in Defendants’ motion for entry of a protective order, Defendants are in

23   possession of information that is of considerable importance to the orderly administration of this

24   case. (Akro. Decl. ¶ 2.) Unfortunately, Defendants and their counsel cannot disclose it to

25   Plaintiffs’ outside counsel without violating their legal obligations, unless there is an order in place

26   that governs any disclosure. (Id.) Thus far, Plaintiffs have refused to stipulate even to a

27   streamlined temporary Protective Order, requiring Defendants to seek relief from this Court. (Id.

28   ¶ 7.)

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 1           Due to the importance of Defendants’ information, Defendants believe it is urgent that this

 2   Court and Plaintiffs’ outside counsel receive the information as soon as possible. (Id. ¶ 2.) During

 3   a conference of counsel at 2:30 p.m. on August 3, 2020, Defendants’ counsel asked Plaintiffs’

 4   counsel to stipulate to a shortened time for Defendants’ motion to enter a protective order. (Id. ¶

 5   7.) Plaintiffs’ counsel refused. (Id. ¶ 7.) The accompanying Declaration of counsel provides more

 6   background information relevant to this motion and Defendants’ compliance with Local Rules 6-

 7   3 and 37-1(a).

 8           Accordingly, Defendants ask this court to shorten the deadlines related to their motion for

 9   entry of a protective order. To guarantee that the Court and Plaintiffs’ outside counsel receive

10   Defendants’ important information promptly, Defendants request that Plaintiffs be ordered to

11   respond to Defendants’ motion within four court days. In order to have this request ruled upon

12   quickly, Defendants waive any right to file a reply. That schedule will allow the Court to promptly

13   consider Defendants’ motion for entry of a protective order, resulting in the Court and Plaintiffs’

14   counsel more quickly coming into possession of this important information. If the requested relief

15   is not granted, it will prejudice the Court and all parties. Plaintiffs will be prejudiced because they

16   are continuing to litigate the matter actively without the important information. The Court will be

17   prejudiced because it will be presiding over a matter without information that will affect the orderly

18   disposition and litigation of this case. And Defendants are prejudiced because, at pain of legal

19   sanction, they will be required to withhold the important information.

20           For the foregoing reasons, Defendants respectfully request that the Court shorten the

21   deadlines related to Defendants’ motion for entry of a protective order, as described above and in

22   the accompanying Proposed Order. 1

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     In bringing this motion, Defendants do not concede that they are subject to the personal
27 jurisdiction of this Court and reserve all rights to contest personal jurisdiction. Defendants also
   do not concede that this Court has subject matter jurisdiction over this proceeding and reserve all
28 rights to contest subject matter jurisdiction.
         DEFENDANTS’ MOTION TO                          2                        Case No. 4:19-cv-07123-PJH
         SHORTEN TIME
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 1   DATED: August 3, 2020                KING & SPALDING LLP
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 3
                                          By: /s/ Joseph N. Akrotirianakis _________
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 5                                            AARON S. CRAIG
                                              Attorneys for Defendants NSO GROUP
 6                                            TECHNOLOGIES LIMITED and Q
                                              CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ MOTION TO               3                    Case No. 4:19-cv-07123-PJH
      SHORTEN TIME
